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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA



                                      GENERAL ORDER


         IT IS ORDERED that multidistrict litigation action 10-md-2179, In Re: Oil Spill by the

Oil Rig “Deepwater Horizon” in the Gulf of Mexico on April 20, 2010, and all consolidated

actions, currently assigned to retired U.S. Magistrate Judge Joseph C. Wilkinson, Jr., Magistrate

Division “2”, are hereby reassigned to U.S. Magistrate Judge Donna Phillips Currault. All future

filings in the lead case, in consolidated cases, in member case civil action 12-968, BELO, and in

related BELO matters are to be assigned to Magistrate Judge Currault.

         IT IS FURTHER ORDERED that multidistrict litigation action 09-md-2047, In Re:

Chinese-Manufactured Drywall Products Litigation, and all consolidated actions, currently

assigned to retired U.S. Magistrate Judge Joseph C. Wilkinson, Magistrate Division “2”, are

hereby reassigned to U.S. Magistrate Judge Michael B. North, Magistrate Division “5”. All

future filings in the lead case, and in consolidated cases are to be assigned to Magistrate Judge

North.

         IT IS FURTHER ORDERED that, with the exception of multidistrict litigation case 10-

md-2179 and multidistrict litigation case 09-md-2047, and consolidated actions, all civil,

criminal, and miscellaneous cases currently assigned to retired U.S. Magistrate Joseph C.

Wilkinson, Jr., Magistrate Judge Division "2", are hereby reassigned to U.S. Magistrate Judge

Donna Phillips Currault, Magistrate Judge Division "2".

         The District Judge assignments are unchanged.




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         IT IS FURTHER ORDERED that commencing immediately, all civil, criminal, and

miscellaneous cases be assigned to Magistrate Judge Division "2" in the same proportion of the

total case assignment as are assigned to the remaining active Magistrate Judge Divisions of this

Court.

         New Orleans, Louisiana, this 1st day of June, 2020.




                                                     ____________________________________
                                                         NANNETTE JOLIVETTE BROWN
                                                          Chief United States District Judge




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